429 F.2d 1317
    NATIONWIDE MUTUAL INSURANCE COMPANY, Appellee,v.James J. McLAUGHLIN, Patrick McLaughlin, Danny Ray Meador, Harry E. Hoskins, Howard Hoskins, Eva Hoskins, Glenn Arlan Chapman, George Harry Chapman, Joseph R. Dickerson and Charles Edward Hogan, Appellants.
    No. 14082.
    United States Court of Appeals, Fourth Circuit.
    Argued June 4, 1970.
    Decided July 17, 1970.
    
      Jack A. Mann, and Joseph Luchini, Beckley, W. Va., (Lynch, Mann &amp; Knapp, Beckley, W. Va., on brief) for appellants.
      Donald D. Hodson, and Edward M. Payne, III, Beckley, W. Va., (Bowers, File, Hodson &amp; Payne, Beckley, W. Va., on brief) for appellee.
      Before SOBELOFF, CRAVEN and BUTZNER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The question of permission to drive an automobile and deviation from the scope of permission was submitted to the jury under a fair charge. The jury answered that Danny Ray Meador was driving the vehicle with the permission of the owner under the omnibus clause of the owner's insurance clause.
    
    
      2
      We think the question was one upon which reasonable men could differ, and was within the province of the jury. It follows, therefore, that the decision of the district judge to enter judgment notwithstanding the verdict was erroneous.
    
    
      3
      Reversed.
    
    